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                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

        FREDRIC N.              §       CIVIL ACTION NO.
        ESHELMAN,               §       4:20-cv-04034
                  Plaintiff,    §
                                §       JUDGE CHARLES ESKRIDGE
                                §
             vs.                §
                                §
                                §
        TRUE THE VOTE, INC., §
        CATHERINE               §
        ENGELBRECHT,            §
        GREGG PHILLIPS,         §
        OPSEC, LLC,             §
        JAMES BOPP, JR., AND §
        THE BOPP LAW FIRM       §
                    Defendants. §

                                 ORDER

            On this day, the Court came to consider the Center for
        Investigative Reporting’s (“CIR”) Motion to Intervene and
        to Unseal Court Records, the Responses of the Parties, and
        Movant’s Reply.
            CIR’s Motion to Intervene is hereby GRANTED.
        Further, having considered the arguments of the parties,
        Intervenor’s Motion to Unseal Court Records is also
        GRANTED. It is hereby ORDERED that all records
        currently sealed on the docket in this matter be unsealed.


           SO ORDERED.
           Signed on _______________, at Houston, Texas.




                                 Hon. Charles Eskridge
                                 United States District Judge
